                                  Case 23-11640-BLS                 Doc 1       Filed 09/29/23           Page 1 of 19


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Infinity Pharmaceuticals, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  1100 Massachusetts Avenue
                                  Cambridge, MA 02138
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Middlesex                                                     Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.infi.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Infinity Pharmaceuticals, Inc.                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5417

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    Infinity Pharmaceuticals, Inc.                                                                Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      Infinity Discovery, Inc.                                     Relationship               Affiliate

                                                    District    Delaware                    When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Infinity Pharmaceuticals, Inc.                                               Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Infinity Pharmaceuticals, Inc.                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 29, 2023
                                                  MM / DD / YYYY


                             X /s/ Seth A. Tasker                                                         Seth A. Tasker
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X /s/ Matthew B. McGuire                                                      Date September 29, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew B. McGuire 4366
                                 Printed name

                                 Landis Rath & Cobb LLP
                                 Firm name

                                 919 Market Street
                                 Suite 1800
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 467-4400                Email address      mcguire@lrclaw.com

                                 4366 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                                Infinity Pharmaceuticals, Inc.

                    Authorization for Filing Voluntary Petition Under
                  Chapter 11 of the Bankruptcy Code and Related Matters

       The undersigned Directors of the Board (the “Board”) of Infinity Pharmaceuticals, Inc., a
Delaware corporation (the “Company”), hereby adopt the following resolutions (the
“Resolutions”):

       WHEREAS, a Special Meeting of the Board was held on September 28, 2028;

     WHEREAS, the Board has considered the financial and operational conditions of the
Company;

        WHEREAS, the Board has reviewed, considered, and received the recommendation of
senior management of the Company and the advice of the Company’s professionals and advisors
with respect to the options available to the Company, including the possibility of pursuing a
restructuring or sale of the Company’s business and assets under chapter 11 of title 11 of the
United States Code (as amended or modified, the “Bankruptcy Code”);

        NOW, THEREFORE, IT IS HEREBY RESOLVED, that after consideration of the
alternatives presented to it and the recommendations of senior management of the Company and
the advice of the Company’s professionals and advisors, the Board has determined in its business
judgment that it is in the best interest of the Company, its creditors, shareholders, employees,
other interested parties and stakeholders that a voluntary petition be filed by the Company under
chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of
Delaware and the filing of such petition is authorized hereby; and it is

        FURTHER RESOLVED, that the members of the Board and any other officer or person
designated and so authorized to act (collectively, the “Authorized Persons”) hereby are, and each
of them is, authorized and empowered to (a) execute, verify and file on behalf of the Company
all documents necessary or appropriate in connection with the filing of said bankruptcy petition,
including, without limitation, all petitions, affidavits, declarations, schedules, statements of
financial affairs, lists, motions, applications, pleadings, and other papers or documents in
connection with such chapter 11 petition; (b) take and perform any and all actions deemed
necessary and proper to obtain such relief as authorized herein and in connection with the
Company’s chapter 11 case; (c) appear as necessary at all bankruptcy proceedings on behalf of
the Company; and (d) pay all such expenses where necessary or appropriate in order to carry out
fully the intent and accomplish the purposes of the resolutions adopted herein; and it is

        FURTHER RESOLVED, that the retention Sonoran Capital Advisors, LLC
(“Sonoran”) and the execution of any retention agreements, the payment of any retainers, fees or
expenses, and the approval of any matters related thereto, be and hereby are ratified, adopted,
and approved in all respects as the acts and deeds of the Company and the Authorized Persons
are, and each of them hereby is, authorized and directed to immediately upon and after the filing
of the bankruptcy case execute and cause to be filed an application for authority to retain
Sonoran as the Company’s financial advisor; and it is

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        FURTHER RESOLVED, that the retention of Landis Rath & Cobb LLP (“Landis Rath
& Cobb and the execution of any retention agreements, the payment of any retainers, fees or
expenses, and the approval of any matters related thereto, be and hereby are ratified, adopted,
and approved in all respects as the acts and deeds of the Company and the Authorized Persons
are, and each of them hereby is, authorized and directed to immediately upon and after the filing
of the bankruptcy case execute and cause to be filed an application for authority to retain Landis
Rath & Cobb as the Company’s restructuring and bankruptcy counsel; and it is

        FURTHER RESOLVED, that the retention of Wilmer Cutler Pickering Hale and Dorr
LLP (“Wilmer Hale”) and the execution of any retention agreements, the payment of any
retainers, fees or expenses, and the approval of any matters related thereto, be and hereby are
ratified, adopted, and approved in all respects as the acts and deeds of the Company and the
Authorized Persons are, and each of them hereby is, authorized and directed to immediately upon
and after the filing of the bankruptcy case execute and cause to be filed an application for
authority to retain Wilmer Hale as the Company’s special corporate counsel; and it is

       FURTHER RESOLVED, that the retention of SSG Advisors, LLC (“SSG”) and the
execution of any retention agreements, the payment of any retainers, fees or expenses, and the
approval of any matters related thereto, be and hereby are ratified, adopted, and approved in all
respects as the acts and deeds of the Company and the Authorized Persons are, and each of them
hereby is, authorized and directed to immediately upon and after the filing of the bankruptcy case
execute and cause to be filed an application for authority to retain SSG as the Company’s
investment banker; and it is

        FURTHER RESOLVED, that the retention of Stretto, Inc. (“Stretto”) and the execution
of any retention agreements, the payment of any retainers, fees or expenses, and the approval of
any matters related thereto, be and hereby are ratified, adopted, and approved in all respects as
the acts and deeds of the Company and the Authorized Persons are, and each of them hereby is,
authorized and directed to immediately upon and after the filing of the bankruptcy case execute
and cause to be filed an application for authority to retain Stretto as the Company’s notice and
claims agent; and it is

        FURTHER RESOLVED, that all instruments, agreements, certificates, consents,
waivers or other documents heretofore executed and delivered (or caused to be executed and
delivered) and all acts lawfully done or actions lawfully taken by the Authorized Persons in
connection with the chapter 11 case or any further action to seek relief on behalf of the Company
under chapter 11 of the Bankruptcy Code, or in connection with the chapter 11 case, or any
matter related thereto, be, and hereby are, adopted, ratified, confirmed and approved in all
respects as the acts and deeds of the Company; and it is

         FURTHER RESOLVED, that the acts, actions and transactions heretofore taken by the
Authorized Persons or the Board in the name of and on behalf of the Company in furtherance of
the purpose and intent of any or all of the foregoing resolutions, which acts, actions and
transactions would have been approved by the foregoing resolutions except that such acts were
taken before the resolutions were adopted, be, and hereby are, ratified, confirmed, and approved
in all respects.

{1405.001-W0072648.}                            2
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Official Form 201A (12/15)

[If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and
Exchange Commission pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
and is requesting relief under chapter 11 of the Bankruptcy Code, this Exhibit “A” shall be
completed and attached to the petition.]

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

INFINITY PHARMACEUTICALS, INC., 1                                Case No. 23-______ (___)

                          Debtor.


                 Attachment to Voluntary Petition for Non-Individuals Filing for
                                Bankruptcy under Chapter 11

   1. If any of the debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number is 000-31141.

   2. The following financial data is the latest available information and refers to the debtor’s
condition on June 30, 2023.

    a. Total assets                                                                  $21,232,000

    b. Total debts (including debts listed in 2.c., below)                           $58,638,000

    c. Debt securities held by more than 500 holders

                                                                                                          Approximate
                                                                                                          number of
                                                                                                          holders:

secured ☐ unsecured ☐ subordinated ☐ $ ______________________                                             N/A
secured ☐ unsecured ☐ subordinated ☐ $ ______________________                                             ____________
secured ☐ unsecured ☐ subordinated ☐ $ ______________________                                             ____________
secured ☐ unsecured ☐ subordinated ☐ $ ______________________                                             ____________
secured ☐ unsecured ☐ subordinated ☐ $ ______________________                                             ____________

    d. Number of shares of preferred stock                                                                0

1
  The last four digits of the Debtor’s federal tax identification number is 5706. The Debtor’s mailing address is
1100 Massachusetts Avenue, Floor 4, Cambridge, MA 02138.

{1405.001-W0072679.2}
Official Form 201A                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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    e. Number of shares common stock                                                                90,761,081

Comments, if any: The number above reflects the number of outstanding shares of common
stock as of June 30, 2023.             __________________________________________
______________________________________________________________________________
______________________________________________________________________________

   3. Brief description of debtor’s business: The Debtor is a clinical-stage innovative
biopharmaceutical company dedicated to developing novel medicines for people with cancer.

   4. List the names of any person who directly or indirectly owns, controls, or holds, with
power to vote, 5% or more of the voting securities of debtor:
Biotechnology Value Fund II, L.P. and The Vanguard Group.
______________________________________________________________________________
______________________________________________________________________________




{1405.001-W0072679.2}
Official Form 201A             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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Fill in this information to identify the case:
Debtor name Infinity Pharmaceuticals, Inc.
United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                            Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Parexel International Shalini Darshanam             Trade Debt                                                                                              $1,093,839.17
(IRL) Limited
One Kilmainham        Shalini.Darshanam
Square, Inchicore     @parexel.com
Road
Dublin
Fortrea Clinical      Donna Smith                   Trade Debt                                                                                                $607,639.34
Research Unit Inc.
3402 Kinsman Blvd. Donna.Smith@fortr
Madison, WI 53704     ea.com
Tennessee             Jessica James                 Trade Debt                Disputed                                                                        $532,197.55
Oncology, PLLC
(Sarah Cannon)        Jessica.James2@s
PO Box 277816         arahcannon.com
Atlanta, GA           +1 (615) 457 7279
30384-7816
Broadridge            Kunzang Hyolmo                Trade Debt                                                                                                $469,758.93
PO Box 416423
Boston, MA            invoices@broadrid
02241-6423            ge.com
Fabbrica Italiana     Caccamo Ornella               Trade Debt                                                                                                $289,700.00
Sintetici, S.p.A.
Viale Milano,         Ornella.Caccamo@
26-36075              fisvi.com
Montecchio            +39 0444 708011
Maggiore 36075
Allucent              Craig Muir                    Trade Debt                                                                                                $238,263.59
(Pharm-Olam, LLC)
25329 Budde Rd.,      POI_USAcctsRecei
Suite 1103            vable@allucent.co
The Woodlands, TX m
77380                 +1 (713) 559-7900
Icon Clinical         Brendan Donovan               Trade Debt                                                                                                $192,329.23
Research
PO Box 82-8268        ar@propharmagro
Philadelphia, PA      up.com
19182-8268            +1 913 6611662


Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Infinity Pharmaceuticals, Inc.                                                           Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
PPD Development,          Sharon Hollfelder         Professional                                                                                              $162,535.10
LP                                                  Services
26361 Network             sharon.hollfelder@
Place                     ppd.com
Chicago, IL               +1 608 203-3005
60673-1263
Greenphire, Inc.          Adrian Keeney             Trade Debt                                                                                                $161,664.11
1018 West 9th
Avenue                    accounting@accou
Suite 200                 nting.greenphire.co
King of Prussia, PA       m
19406
ProPharma Group,          Ashley Nagle              Professional                                                                                              $141,376.00
LLC                                                 Services
8717 W. 110th             ashley.nagle@prop
Street, Suite 300         harmagroup.com
Overland Park, KS         +1 708 602 1020
66210
Medpace, Inc.             Mark Speed                Trade Debt                                                                                                $138,057.73
5375 Medpace Way
Cincinnati, OH            Invoicing@Medpac
45227                     e.com
                          +1 513 579 9911
Oxford Global             Nanci Bentley     Professional                                                                                                        $83,152.50
Resources, LLC                              Services
P.O. Box 3256             nanci_bentley@oxf
Boston, MA                ordcorp.com
02241-3256                +1 978 538 1649
Labcorp Early             Adam Blodgett     Trade Debt                                                                                                          $78,728.00
Development
Laboratories              accountsreceivable
3301 Kinsman Blvd         @labcorp.com
Madison, WI 53704
Labcorp Central           Jana Brown                Trade Debt                                                                                                  $78,213.63
Laboratory
Services, LP              jana.brown@labcor
8211 SciCor Dr            p.com
Indianapolis
Morrow Sodali LLC         Paul Schulman             Professional                                                                                                $73,924.43
333 Ludlow Street                                   Services
5th Floor                 p.schulman@morr
Stamford, CT 06902        owsodali.com
                          +1 212 300 2473
Sun Life Assurance        Edward Roberts            Building Lease                                                                                              $72,551.25
Company of Canada
93 Summer Street,  eroberts@synergy
2nd Floor          boston.com
Boston, MA 02110   +1 617 517 2896




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     Infinity Pharmaceuticals, Inc.                                                           Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Medidata Solutions        Alyssa D'Orazio           Trade Debt                                                                                                  $69,426.78
Inc
79 Fifth Avenue, 8th      invoicing@mdsol.c
Floor                     om
New York, NY 10003
Tigermed-BDM Inc.         Cecilia Xu                Professional                                                                                                $64,296.00
100 Franklin Square                                 Services
Dr., Suite 305            Cecilia.Xu@tigerm
Somerset, NJ 08873        edgrp.com
Almac Clinical            Bridget Hanson            Trade Debt                                                                                                  $60,463.16
Services LLC
25 Fretz Road             acsbilling@almacg
Souderton, PA             roup.com
18964                     +1 215 660 8500
Aliri USA Inc.            Nicole Perkins    Trade Debt                                                                                                          $46,230.85
4720 Forge Rd Ste
108                       nicole.perkins@alir
Colorado Springs,         ibio.com
CO 80907                  719-593-1165




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

INFINITY PHARMACEUTICALS, INC., et al. 1                      Case No. 23-_____ (___)

         Debtors.                                             (Joint Administration Requested)


    CONSOLIDATED STATEMENT OF CORPORATE OWNERSHIP PURSUANT TO
        RULES 1007(a)(1), 1007(a)(3), AND 7007.1 OF THE FEDERAL RULES
                        OF BANKRUPTCY PROCEDURE

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the above-captioned debtors and debtors-in-possession (each, a “Debtor”) hereby state as follows:

         1.       The mailing address of Debtor Infinity Pharmaceuticals, Inc. (“INFI”) and each of

its subsidiaries is 1100 Massachusetts Avenue, Cambridge, MA 02138.

         2.       As of the Petition Date, INFI has only common outstanding stock and no holders

with more than 10% ownership of such stock.

         3.       Debtor Infinity Discovery, Inc. is a wholly owned subsidiary of INFI.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Infinity Pharmaceuticals, Inc. (5706) and Infinity Discovery, Inc. (9480). The Debtors’ mailing address
is 1100 Massachusetts Avenue, Floor 4, Cambridge, MA 02138.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 11

INFINITY PHARMACEUTICALS, INC., 1                                  Case No. 23-______ (___)

                              Debtor.                              (Joint Administration Requested)

                                                                   Tax I.D. No. XX-XXXXXXX


                                  LIST OF EQUITY SECURITY HOLDERS

           The following is a list of debtor Infinity Pharmaceuticals, Inc.’s equity security holders. 2

This list has been prepared in accordance with Fed. R. Bankr. P. 1007(a)(3) for filing this

chapter 11 case.

             Name and Address of Holder                                                  Shares
Erwin J Alvarez
7002 JFK Boulevard East #14r                                                               625
Guttenberg NJ 07093
Linda Anderson
9871 State Hwy. 151                                                                        168
Ignacio CO 81137
AST Exchange Agent #11151
Discovery Partners International Inc
C/O Corporate Actions                                                                      522
6201 15th Avenue
Brooklyn NY 11219
Patricia Bashaw
3122 Stelling Drive                                                                        750
Palo Alto, CA 94303-3959
Tiara B Boutte PhD & Timothy L Boutte
JT/WROS
                                                                                          1,000
3938 Catania Bay Ct
Missouri City, TX 77459-0020385


1
 The last four digits of the Debtor’s federal tax identification number is 5706. The Debtor’s mailing address is 1100
Massachusetts Avenue, Floor 4, Cambridge, MA 02138.
2
    The list reflects the registered equity security holders as of August 31, 2023.



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          Name and Address of Holder                             Shares
James E Brownell
1 Herrick Street                                                   161
Winchester, MA 01890
Alfredo Castro
43 Wildwood Street                                                 55
Winchester, MA 01890
Cede & Co (Fast Account)
PO Box 20
                                                                90,664,828
Bowling Green Station
New York, NY 10004
Gordon Clemons
8011 Wicklow Hall                                                  34
Matthews, NC 28104
Earnest P Couch
212 Commodore Dr                                                   62
Hampton, VA 23669-1009
Richard G Couch
3000F Danville Blvd Apt 532                                        60
Alamo, CA 94507
John D'amato &
Helen D'amato JT Ten
C/O Natalie D'amato                                               2,000
5965 Colony Ct
Boca Raton, FL 33433-5203
Gary David
Impact Enterprises
                                                                  1,750
9477 Poole Street
La Jolla, CA 92037
Leslie Eastman
11360 Portobelo Drive #1                                           700
San Diego, CA 92124-4025
Yangbo Feng
1432 Barlow Court                                                  981
Palm Beach Gardens, FL 33410-1500
Yangbo Feng
1432 Barlow Court                                                  375
Palm Beach Gardens, FL 33410-1500




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          Name and Address of Holder                             Shares
Pauline Gee
6666 Drew Ranch Lane                                               155
Boulder, CO 80301-3570
Larry Gray
5933 Dugan Avenue                                                  375
La Mesa, CA 91942-2609
Elizabeth Grieco
74 Charles Street                                                   5
Reading, MA 01867
Helmet Investments LLC
Po Box 676176                                                      34
Rancho Santa Fe, CA 92067-6176
Jennifer Yuan Hou
284 Harvard Street
                                                                   158
Apt 73
Cambridge, MA 02139
Emily Zhi-Yun Keung
2 Juniper Lane                                                     583
Wayland MA 01778
Lander Irrevocable Trust DTD 12/21/15
Bessemer Trust Company of Delaware NA
1007 N Orange Street                                             61,888
Suite 1450
Wilmington, DE 19801
Lander-Weiner Family Trust
C/O Eric Lander
                                                                 11,051
74R Fayerweather Street
Cambridge, MA 02138
Hyo Jeang Lee
7291 Valley Trails Drive                                           83
Pleasanton, CA 94588-5226
Lek Securities UK Limited
C/O Lek Securities Corporation
4 World Trade Center - FL44                                        334
150 Greenwich Street
New York, NY 10007
Walter M Lovenberg
3008 Burning Tree Ln                                                6
Cincinnati, OH 45237-1716


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          Name and Address of Holder                             Shares
Paul Melone
26 Robert Street                                                   597
Clinton, MA 01510
Aubrey Mendonca
1015 Holgate Place
                                                                  2,468
Edmonton Alberta T6R2T7
Canada
Joanne Miura
14842 Summerbreeze Way                                             118
San Diego, CA 92128-3733
Frederic H Moll
3746 Clay St                                                       87
San Francisco, CA 94118-1806
Joan-Marie Morgan
106 Weatherbee Drive                                              1,657
Westwood, MA 02090
Christina Dionne Narensky
1830 Fremont Dr                                                    140
Alameda, CA 94501
Glenn Neal
17217 Vendor Place                                                1,500
Poway, CA 92064-1113
Richard Neale
9640 Towne Centre Dr                                              1,231
San Diego, CA 92121
Michael Nichols
15 Park Vale Apt 2                                                3,848
Brookline, MA 02446-6255
Wei Niu
17 Davelin Road                                                     7
Wayland, MA 01778
Akira Niwayama
5110 Whitman Way 311                                               410
Carlsbad, CA 92008
Janise Petrey
4240 Via Mar De Delfinas                                           100
San Diego, CA 92130




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          Name and Address of Holder                             Shares
Luis S Rodriguez
5982 Passend Dr                                                     3
Frederick, MD 21703-2951
Rebecca Rose
5528 Gunbarrel Rd                                                  25
Longmont, CO 80503-8606
Joseph P Tallman
380 Inca Parkway                                                   45
Boulder, CO 80303-3550
Phuoc-Loc Ton
3399 Lake Arrowhead Avenue                                         34
Fremont, CA 94555-1067
Okoboji Trust Dtd 6 19 85
James Willenborg TTEE
                                                                   68
2410 Baker Street
San Francisco, CA 94123-4601
Jeremy B Hayden
C/O Brobeck Phleger & Harrison
                                                                  1,700
12390 El Camino Real
San Diego, CA 92130-2081
Peter Barton Hutt
850 10th Street NW                                                 100
Washington, DC 20001
Matthew Lillig
31954 Wildwood Ct                                                  89
Temecula, CA 92592
Robert Prom, Jr.
2310 A Chatsworth Blvd
                                                                   200
6366 Rancho Mission Rd #814
San Diego, CA 92108 92108




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Fill in this information to identify the case:

Debtor name         Infinity Pharmaceuticals, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration       List of Equity Holders and Corporate Ownership Statement

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 29, 2023              X /s/ Seth A. Tasker
                                                           Signature of individual signing on behalf of debtor

                                                            Seth A. Tasker
                                                            Printed name

                                                            Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
